Case 5:23-mj-05282-MAS
     Case 4:23-cr-00218 *SEALED*
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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF KENTUCKY
                                     CENTRAL DIVISION
                                                                                    AT LEXINGTON
                                                                                     Robert R. Carr
                                                                              CLERK U.S. DISTRICT COUFIT
                                                       )
                                                       )
      UNITED STATES OF AMERICA                                              Case No. 5 :23-mj-5282
                                                       )
                                                       )
      v.                                               )
     Hardik Jayantilal Patel                           )
                                                       )          Charging District Case No. 4:23cr-2 l 8
              Defendant.                               )
                                                       )
                                                       )


                                           RULE 5 & 5.1 HEARING

           I understand that I have been charged in another district, the: Southern District of Texas

    ("Charging District").

           I also understand and have been informed of the charges and ofmy rights to:

               I. Retain counsel or request the assignment of counsel if I am unable to retain counsel;

               2. An identity hearing to determine whether I am the person named in the charges;

               3. Production of the warrant, a certified copy of the warrant, or a reliable electronic
                  copy of either;

               4. A preliminary hearing to determine whether there is probable cause to believe that
                  an offense has been committed, to be held within 14 days of my first appearance if
                  1 am in custody and 21 days otherwise, unless I have been indicted beforehand;

               5. A hearing on any motion by the government for detention; and

               6. Request a transfer of the proceeding(s) to this district under FED. R. CRIM. P. 20, to
                  plead guilty.




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            As to my right to an identity hearing (check one):

            D 1. I asse1t my right to an identity hearing and/or challenge the production of the
                   warrant.

            ~~ waive my right to an identity hearing and production of the warrant.
            As to my right to a preliminary hearing, if charged by criminal complaint (check one):

            D ~erfmy right to a preliminary hearing in the Eastern District of Kentucky.
            02. I reserve my right to a preliminary hearing in the Charging District.
  / n{4 j"°4waive
l)wy.   lfr5·· l, my right to a preliminary hearing.
            As to my right to a detention hearing (check one):

            D 1. I assert my right to a detention hearing in the Eastern District of Kentucky.
            ~ r v e my right to a detention hearing in the Charging District.

            D 3. I waive my right to a detention hearing.
            I consent to the issuance of an order requiring my appearance in the Charging District

     where the charges are pending against me.




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